

Matter of Gannett Co., Inc. v Herkimer Police Dept. (2023 NY Slip Op 01418)





Matter of Gannett Co., Inc. v Herkimer Police Dept.


2023 NY Slip Op 01418


Decided on March 17, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 17, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, CURRAN, OGDEN, AND GREENWOOD, JJ.


233 CA 22-00688

[*1]IN THE MATTER OF GANNETT CO., INC., DOING BUSINESS AS DEMOCRAT &amp; CHRONICLE, PETITIONER-APPELLANT,
vHERKIMER POLICE DEPARTMENT, MICHAEL J. JORY, IN HIS OFFICIAL CAPACITY AS CHIEF OF HERKIMER POLICE DEPARTMENT, VILLAGE OF HERKIMER AND COLLEEN D. GROSS, IN HER OFFICIAL CAPACITY AS VILLAGE CLERK TREASURER, RESPONDENTS-RESPONDENTS. (APPEAL NO. 1.) 






GREENBERG TRAURIG, LLP, ALBANY (MICHAEL J. GRYGIEL OF COUNSEL), FOR PETITIONER-APPELLANT.
LONGSTREET &amp; BERRY, LLP, FAYETTEVILLE (MARTHA L. BERRY OF COUNSEL), FOR RESPONDENTS-RESPONDENTS. 


	Appeal from a judgment (denominated order) of the Supreme Court, Herkimer County (Bernadette T. Clark, J.), entered April 28, 2022 in a proceeding pursuant to CPLR article 78. The judgment granted the motion of respondents to dismiss the petition. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on February 8, 2023,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: March 17, 2023
Ann Dillon Flynn
Clerk of the Court








